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 1   DAVID A. TORRES AND ASSOCIATES
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     BALTAZAR CASTANEDA GARCIA
 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                    ) Case No.: Case No.13-CR-00392 LJO-SKO
10   UNITED STATES OF AMERICA,                      )
                                                    )
11                  Plaintiff,                      ) PROPOSED ORDER FOR FULL
                                                    ) RECONVEYANCE OF PROPERTY
12          vs.                                     )
                                                    )
13   BALTAZAR CASTANEDA GARCIA,                     )
                                                    )
14                  Defendant                       )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE SHIELA
16   K. OBERTO:
17          COMES NOW Defendant, BALTAZAR GARCIA, by and through his attorney of
18   record, DAVID A. TORRES hereby requesting that a full reconveyance of the property
19   belonging to Olivia Garcia, Deed No. 0214011286 be granted.
20          On January 27, 2014 a detention hearing was held before Magistrate Stanley Boone and
21   was ordered to be released on a $250, 000.00 secured property bond. A property bond package
22   was sent to the United States Attorneys Office and to the United States District Court; however,
23   the property bond was rejected. On March 3, 2014 the Original Deed of Trust, No.:0214011286
24   was received and filed by the United States District Court (docket 34).
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                                       Summary of Pleading - 1
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 1          On March 12, 2014 a bail review hearing was held before Magistrate Sheila Oberto

 2   wherein the defendant was ordered released on a full compliance/full equity bond not less than

 3   $200,000.00. The defendant is requesting that the property filed with the court be reconveyed in

 4   order to proceed with the most recent orders of the court regarding Mr. Baltazar’s release.

 5

 6                                                               Respectfully Submitted,

 7   DATED: 3/13/14                                              /s/ David A Torres           ___
                                                                 DAVID A. TORRES
 8                                                               Attorney for Defendant
                                                                 BALTAZAR GARCIA
 9

10

11                                               ORDER
12
            IT IS SO ORDERED that the property belonging to Olivia Garcia, Deed No.:
13
     0214011286, be reconveyed.
14

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16

17   IT IS SO ORDERED.

18      Dated:     March 19, 2014                                /s/ Sheila K. Oberto
                                                       UNITED STATES MAGISTRATE JUDGE
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                                       Summary of Pleading - 2
